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                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE: JENNIFER BISHOP                                                   Bankruptcy No. 18-11657

                     RESPONSE TO MOTION TO AVOID
          NONPOSSESSORY NONPURCHASE MONEY SECURITY INTEREST
                 COMES NOW, First Metropolitan Financial Services - New Albany Branch (“First

Metropolitan”) and responds to Debtor’s Motion to Avoid Nonpossessory, Nonpurchase Money

Security Interest and would show unto the Court the following, to wit:

        1.       First Metropolitan admits that debtor is indebted to it and that it holds a

nonpossessory, nonpurchase money security interest in Debtor’s property. First Metropolitan denies
that all such possessions are exempt and objects to Debtor’s claim of exemption for that property

which is not exempt pursuant to Miss Code Ann. § 85-3-1, et seq. or other applicable law. First

Metropolitan denies that the lien on Debtor’s property impairs exemptions to which debtor would

be entitled under 11 U.S.C. § 522(b).

        2.       To the extent that First Metropolitan is not paid the replacement value of its collateral

with interest, First Metropolitan rejects debtor’s plan.

                 WHEREFORE, PREMISES CONSIDERED, First Metropolitan Financial Services -

New Albany Branch prays that the Debtor’s Motion to Avoid Nonpossessory, Nonpurchase Money

Security Interest be denied, and requests the Court to grant such other relief as is necessary under the

circumstances.

        Dated: June 20, 2018

                                 First Metropolitan Financial Services - New Albany Branch

                                         BY:     /s/ B. Joey Hood, II
                                                 B. Joey Hood, II
                                                 Its Attorney
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                                CERTIFICATE OF SERVICE
               I, B. Joey Hood, II, attorney for First Metropolitan Financial Services - New Albany

Branch, do hereby certify that the following have been served electronically via ECF with a copy of

the above document.

               1.     Karen B. Schneller             karen.schneller@gmail.com

               2.     U.S. Trustee                   USTPRegion05.AB.ECF@usdoj.gov

               3.     Terre M. Vardaman              VARDAMAN13ECF@gmail.com



       Dated: June 20, 2018


                                             /s/ B. Joey Hood, II
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